                                                     Case 2:18-cv-01265-JAD-BNW Document 40
                                                                                         41 Filed 10/03/19
                                                                                                  10/09/19 Page 1 of 2



                                                 1   7LYSSA S. ANDERSON
                                                     Nevada Bar No. 5781
                                                 2   RYAN W. DANIELS
                                                     Nevada Bar No. 13094
                                                 3   KAEMPFER CROWELL
                                                     1980 Festival Plaza Drive, Suite 650
                                                 4   Las Vegas, Nevada 89135
                                                     Telephone: (702) 792-7000
                                                 5   Fax:        (702) 796-7181
                                                     landerson@kcnvlaw.com
                                                 6   rdaniels@kcnvlaw.com

                                                 7   Attorneys for Defendants
                                                     Las Vegas Metropolitan Police Department
                                                 8   and William Pollock

                                                 9                                          UNITED STATES DISTRICT COURT

                                                10                                              DISTRICT OF NEVADA

                                                11   ESTATE OF CALEB BLAYLOCK, by and                      Case No.: 2:18-cv-01265-JAD-BNW
                                                     through special administrator ROSALIND
                                                12   ROSE BLAYLOCK, ROSALIND ROSE
                                                     BLAYLOCK, individually; STEPHEN                          STIPULATION AND ORDER FOR
                                                13   PATRICK BLAYLOCK, individually;                           DISMISSAL WITH PREJUDICE

                                                14                            Plaintiffs,                               ECF No. 40
                                                     vs.
                                                15
                                                     LAS VEGAS METROPOLITAN POLICE
                                                16   DEPARTMENT, a political subdivision of the
                                                     State of Nevada; JOSEPH LOMBARDO,
                                                17   Sheriff of Clark County, Nevada; WILLIAM
                                                     POLLOCK, individually and in his official
                                                18   capacity; DOES 1 through 10;

                                                19                            Defendants.

                                                20

                                                21              IT IS HEREBY STIPULATED AND AGREED, by and between Defendants Las Vegas

                                                22   Metropolitan Police Department and William Pollock (“LVMPD Defendants”), and Rosalind
                   Las Vegas, Nevada 89135
                    1980 Festival Plaza Drive
KAEMPFER CROWELL




                                                     Rose Blaylock and Stephen Patrick Blaylock (“Plaintiffs”), by and through their respective
                           Suite 650




                                                23

                                                24


                                                     2431758_1.doc 6943.142
                                                                                                                                         Page 1 of 2
                                                     Case 2:18-cv-01265-JAD-BNW Document 40
                                                                                         41 Filed 10/03/19
                                                                                                  10/09/19 Page 2 of 2



                                                 1   counsel, that all of Plaintiffs’ claims against all LVMPD Defendants are hereby dismissed, with

                                                 2   prejudice, with each party to bear their own attorney fees and costs.

                                                 3              DATED this 3rd day of October, 2019.

                                                 4   KAEMPFER CROWELL                                    CALLISTER LAW GROUP

                                                 5
                                                     By:      /s/ Lyssa S. Anderson                      By:   /s/ Mitchell S. Bisson
                                                 6            LYSSA S. ANDERSON                                MITCHELL S. BISSON
                                                              Nevada Bar No. 5781                              Nevada Bar No. 11920
                                                              RYAN W. DANIELS                                  330 E. Charleston Blvd., Suite 100
                                                 7            Nevada Bar No. 13094                             Las Vegas, NV 89104
                                                              1980 Festival Plaza Dr., Ste. 650
                                                 8            Las Vegas, Nevada 89135
                                                                                                               Attorneys for Plaintiffs
                                                 9            Attorneys for Defendants
                                                              Las Vegas Metropolitan Police
                                                10            Department and William Pollock

                                                11

                                                12
                                                                                                  ORDER
                                                13
                                                              Based
                                                             IT IS SOon ORDERED.
                                                                        the parties' stipulation [ECF No. 40] and good cause appearing, and because the
                                                14    dismissal of the claims against Las Vegas Metropolitan Police Department and William Pollock
                                                      leaves DATED
                                                             no claimsthis
                                                                        or parties
                                                                           _______ remaining,  IT IS HEREBY
                                                                                      day of October, 2019. ORDERED that THIS ACTION IS
                                                15    DISMISSED with prejudice, each side to bear its own fees and costs. The Clerk of Court is
                                                      directed to CLOSE THIS CASE.
                                                16                                                                                         10/9/19

                                                17                                                     UNITED STATES
                                                                                                                   SDDI
                                                                                                                     DISTRICT
                                                                                                                      IS
                                                                                                                       STTRICT COURT
                                                                                                                               CO
                                                                                                                                OU
                                                                                                                                 UR JUDGE

                                                18

                                                19

                                                20

                                                21

                                                22
                   Las Vegas, Nevada 89135
                    1980 Festival Plaza Drive
KAEMPFER CROWELL

                           Suite 650




                                                23

                                                24


                                                     2431758_1.doc 6943.142
                                                                                                                                             Page 2 of 2
